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                             UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                        )
JOSEPH DUBOIS,                          )
                                        )
            Plaintiff,                  )                Civil No.
                                        )                14-cv-13635-FDS
            v.                          )
                                        )
GC SERVICES, LP,                        )
                                        )
            Defendants.                 )
_______________________________________ )


                            SETTLEMENT ORDER OF DISMISSAL


SAYLOR, J.

       The Court, having been advised by the parties, reports that this action has reached a
settlement.
       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice
to the right of any party upon good cause shown within thirty (30) days to reopen the action if
settlement is not consummated.



                                                            By the Court,

                                                            /s/ Lisa Pezzarossi
December 8, 2014                                            _____________________
Date                                                        Lisa Pezzarossi, Deputy Clerk
